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                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF KENTUCKY
                                PIKEVILLE DIVISION

IN RE:                                                                                  CHAPTER 7
         JUSTIN TODD TROUT
               DEBTOR                                                      CASE NO. 18-70695-grs

 NOTICE OF RESCISSION OF REAFFIRMATION AGREEMENT WITH M&T BANK

        NOTICE IS HEREBY GIVEN that the Debtor, JUSTIN TODD TROUT, hereby
rescinds and terminates that certain Reaffirmation Agreement dated January 29, 2019 [Doc. #16]
with M&T Bank relating to the 2015 Toyota RAV4, VIN #2T3DFREV9FW342835. The address
of the vehicle’s location is 465 Bucks Branch, Martin KY 41649.

                                               Respectfully submitted,

                                               BUNCH & BROCK, PSC


                                               By:         /s/ Matthew B. Bunch
                                                      MATTHEW B. BUNCH, ESQ.
                                                      271 West Short Street
                                                      805 Security Trust Building
                                                      Lexington, Kentucky 40507
                                                      (859) 254-5522

                                               ATTORNEY FOR DEBTOR


                                  CERTIFICATE OF SERVICE

       This is to certify that this the 16th day of May 2019, a true and correct copy of the foregoing
served electronically by the Clerk of the Bankruptcy Court in the method established under
CM/ECF Administrative Procedures Manual to all attorneys of record, including Benjamin N.
Hutnick, M&T Bank’s attorney, the U.S. Trustee and the Chapter 7 Trustee via CM/ECF, the
Debtor via email and by separate email to Benjamin N. Hutnick at bhutnick@bermanrabin.com
and by U.S. Mail, first class postage prepaid, upon M&T Bank, 475 Crosspoint Pkwy, Getzville,
NY 14068.

  /s/ Matthew B. Bunch
MATTHEW B. BUNCH
